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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
  DGR:DAS:BDM/TRP                                   271 Cadman Plaza East
  F. #2016R00467                                    Brooklyn, New York 11201



                                                    March 8, 2024

  Via ECF

  The Honorable Margo K. Brodie
  Chief United States District Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

                Re:    In Re Forfeiture Order of Tim Leissner
                       Miscellaneous Docket No. 23-1505 (MKB)

  Dear Chief Judge Brodie:

                 The government respectfully submits this letter to request an extension of the
  initial discovery period authorized by the Court in its order entered on February 9, 2024. See
  Memorandum & Order (the “Order”), Dkt. #32, at 9-10. As Your Honor is aware, the Court
  directed the parties to engage in discovery limited to the threshold question of whether
  Petitioner Russell Simmons held, as of the date of the filing of his third-party petition, a
  membership interest in Nu Horizons Investment Group, LLC sufficient to confer standing
  upon him to assert a derivative claim on behalf of the corporate entity. Id. For the reasons
  discussed below, the government, with the consent of third-party petitioners Kimora Lee
  Simmons-Leissner and Ken Siazon, respectfully requests an approximately sixty-day
  extension of the limited discovery period, from March 11, 2024 to May 17, 2024.

                  Since entry of the Order, the government has propounded a first set of
  interrogatories and requests for the production of documents on petitioner Simmons directed
  to the threshold issue of whether Simmons held a membership interest in Nu Horizons at the
  time of the filing of his petition, and petitioner Simmons has propounded his first set of
  requests for the production of documents upon the government and claimants Kimora Lee
  Simmons-Leissner, Ken Siazon and Roger Ng. In addition, the government has noticed the
  deposition of petitioner Simmons, and petitioner Simmons has noticed the depositions of
  claimant Kimora Lee Simmons-Leissner and her husband, criminal defendant Tim Leissner.

                  On March 1, 2024, after having received petitioner Simmons’s sixteen
  requests for the production of broad categories of documents, the government served its
  initial objections. On March 7, 2024, the government conferred with counsel for petitioner
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  Simmons regarding, among other things: (1) the scope of documents sought in each request;
  (2) the breadth of petitioner Simmons’s document requests as compared to the Court’s
  limited discovery Order; (3) how petitioner Simmons’s legal theories might impact the
  relevance of documents requested; and (4) the government’s interest in obtaining a protective
  order in advance of its production of any documents given the ongoing nature of its
  underlying criminal investigation. Based upon that discussion, the government anticipates
  revising its initial objections to petitioner Simmons’s requests for the production of
  documents and preparing a proposed stipulated protective order for circulation among the
  parties. During the meet-and-confer, counsel for petitioner Simmons also advised that he is
  in the process of preparing responses to the government’s first set of interrogatories and
  requests for the production of documents.

                 With respect to the depositions noticed to date, petitioner Kimora Lee
  Simmons-Leissner has served formal objections to her appearing for deposition. Petitioner
  Simmons has not formally responded to his noticed deposition. However, when conferring
  with the government on March 7, 2024, counsel for petitioner Russell Simmons expressed
  his unwillingness to produce Simmons for deposition until completion of the production of
  documents. Petitioner Simmons’s counsel also stated that he objected to producing Simmons
  for a deposition during the current period of limited discovery directed to the threshold issue
  of Simmons’s membership interest in Nu Horizons.

                  Based upon the above, the government respectfully submits that additional
  time for discovery on the threshold issue of whether Simmons’s held a membership interest
  in Nu Horizons at the time of the filing of his petition is necessary. This extension will allow
  the parties to respond to the discovery requests issued to date and either resolve or seek court
  intervention as to anticipated discovery disputes, including with respect to the scope of
  documents requested and the appearance of individuals for depositions.

                 The government has conferred with counsel for claimants Kimora Lee
  Simmons-Leissner and Ken Siazon, who indicated that they consent to the requested
  extension of the period for limited discovery. The government also conferred with counsel
  for petitioner Roger Ng who advised that counsel needs additional time to contact Ng and
  will advise of Ng’s position after speaking with him. Although neither the exchange of
  documents among the parties nor any depositions have yet to occur, counsel for petitioner
  Russell Simmons advised that Simmons objects to the requested extension.




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              Thank you for Your Honor’s consideration of this submission.

                                                 Respectfully submitted,

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                                                 United States Attorney

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  cc:   All Counsel of Record (by ECF)




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